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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                               )
                                                       )
       v.                                              )      Criminal No. 15-10046-LTS
                                                       )
MARTIN LUSTGARTEN ACHERMAN,                            )
                                                       )
       Defendant.                                      )

              GOVERNMENT’S OPPOSITION TO DEFENDANT’S APPEAL
            OF MAGISTRATE JUDGE’S ORDER OF PRE-TRIAL DETENTION

       The United States of America, by and through its undersigned attorneys, hereby requests

that the Court deny the Appeal of Magistrate Judge’s Order of Pre-Trial Detention filed by

defendant Martin Lustgarten Acherman (“Lustgarten”). The Appeal of Magistrate Judge’s Order

of Pre-Trial Detention must be denied because no condition or series of conditions can

“reasonably assure the appearance of the [Defendant] as required.” 18 U.S.C. § 3142(e)(1); See

United States v. Patriarca, 948 F.2d 789, 792-93 (1st Cir.1991). Lustgarten is a significant risk

of flight because he, (1) is neither a citizen nor a permanent resident of the United States; (2)

faces a maximum sentence of twenty years in prison in the high likelihood he is convicted; (3)

maintains strong familial, financial, or occupational ties to at least seven foreign countries,

including Venezuela, which will not extradite to the United States; (4) has access to staggering

amounts of money; and (5) has a history of lying to U.S. government officials.

                                       APPLICABLE LAW

       A defendant may be detained pending trial only after a finding by a judicial officer,

following a hearing held pursuant to 18 U.S.C. § 3142(f), that “that no condition or combination

of conditions will reasonably assure the appearance of the person as required and the safety of


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any other person and the community . . . .” 18 U.S.C. § 3142(e). The Government can move to

have a defendant detained pending trial in a case that involves a serious risk that the defendant

will either (A) flee from prosecution; or (B) “obstruct or attempt to obstruct justice, or threaten,

injure, or intimidate, or attempt to threaten, injure, or intimidate, a prospective witness or juror.”

18 U.S.C. § 3142(f)(2).

       When he or she is ordered detained by a magistrate judge, a defendant may move the

court with original jurisdiction for revocation or amendment of the detention order. 18 U.S.C.

§ 3145(b). The district court reviews the magistrate judge’s detention or release order de novo.

United States v. Tortora, 922 F.2d 880, 883 n. 4 (1st Cir.1990). In reviewing the magistrate

judge's detention order, the court must undertake an independent review, giving her decision

such deference as the care and consideration manifested by the magistrate judge warrant. United

States v. Simone, 317 F.Supp.2d 38, 42 (D.Mass.2004).

       When asserting the risk of flight as a basis for detention, “the government must prove by

a preponderance of the evidence that no combination of conditions will reasonably assure each

defendant's appearance at future court proceedings.” United States v. Digiacomo, 746 F.Supp.

1176, 1180–81 (D.Mass.1990) (citing United States v. Mortis, 785 F.2d 327, 328–29 (DC

Cir.1986), cert. denied, 479 U.S. 841, 107 S.Ct. 148, 93 L.Ed.2d 89 (1986)). In making the

determination, the Court must consider the following factors most clearly outlined in U.S. v.

Merrill, 2014 WL 2769148 (D.Mass.2014),:


   (1) the nature and circumstances of the offense charged, including whether the offense is a
crime of violence or involves a narcotic drug

   (2) the weight of the evidence against the person;


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   (3) the history and characteristics of the person, including:

            (A) the person's character, physical and mental condition, family ties, employment,
            financial resources, length of residence in the community, community ties, past
            conduct, history relating to drug or alcohol abuse, criminal history, and record
            concerning appearance at court proceedings; and

            (B) whether, at the time of the current offense or arrest, he was on probation, on parole,
            or other release pending trial, sentencing, appeal, or completion of sentence for an
            offense under Federal, State or local law; and

   (4) the nature and seriousness of the danger to any other person or the community that would
be posed by the person's release.... U.S. v. Merrill, 2014 WL 2769148, at 4-5 (D.Mass.2014).

           It is important to note that this Court considers “weight of the evidence” as the least

important factor when determining risk of flight in a complex case with voluminous documents.

Id. at 5

                                       STATEMENT OF FACTS

           Lustgarten appears before this court on a Superseding Indictment returned on April 1,

2015 by a Grand Jury convened in Boston. He is charged with participating in an international

money laundering scheme involving the proceeds of drug trafficking in the United States.

(Indictment ¶¶ 10-14.) More specifically, the Indictment alleges that Lustgarten controlled

numerous foreign bank accounts located in Hong Kong, Singapore, Panama, and elsewhere, and

that he used those accounts to launder millions of U.S. dollars that were the proceeds of drug

trafficking in the United States, and that he concealed the nature, source, and ownership of the

drug money. (Indictment ¶¶ 2-5, 10, 12.) Lustgarten also is charged with obstructing an official

proceeding by providing false information to federal investigators from the Drug Enforcement

Administration and the Department of Homeland Security, Homeland Security Investigations,

about the nature and scope of his involvement with co-defendant Salomon Bendayan.


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(Indictment ¶¶ 11, 13 & Counts II and III). The government’s preliminary calculations of

Lustgarten’s advisory Sentencing Guidelines Range reflect a life sentence. (Miami Detention

Transcript at 6.) However, the sentence is capped by statute at twenty years. (Id.)

Detention Hearing #1 (Miami)

       On April 8, 2015, Lustgarten was arrested in Florida. On April 13, 2015, United States

Magistrate Judge Edwin Torres conducted an evidentiary detention hearing in the United States

District Court for the Southern District of Florida. At the outset of the hearing, the Court elicited

a factual proffer from the government. The Court then permitted Defendant to cross-examine

Special Agent Phillip Lavoie. (Miami Detention Transcript at 6-9.)

       In response to defense counsel’s questions, Special Agent Lavoie testified that, based on

the investigation, Lustgarten represented that a business owned by him, known as Henlux, was

involved in purchase-order financing in international trade involving Venezuela; in reality, the

government proffered, Lustgarten used Henlux “as a cover to launder money for drug cartels and

others.” (Miami Detention Transcript at 8, 13.) Lustgarten “made a business of gathering U.S.

dollars and making them available in places where they are hard to come by, such as Venezuela,

and the significance of that is the source of those dollars. Mr. Lustgarten is well aware that at

least $40 million and possibly $100 million comes from drug cartels or paramilitary

organizations.” (Miami Detention Transcript at 8-9.) During the investigation, agents monitored

court-authorized intercepted telephone calls between Lustgarten and co-defendant Salomon

Bendayan. (Miami Detention Transcript at 15.) In addition, for a period within the past five

years, Lustgarten was a “source of information” for the government. DEA Special Agent Brian

DeJoy was the primary contact for Lustgarten, and Special Agents DeJoy and Lavoie met in


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person with Lustgarten. (Miami Detention Transcript at 17-19.) During these meetings,

Lustgarten provided false information to the government regarding his money laundering activity

and his association with certain people. (Miami Detention Transcript at 18.)

        Moreover, during the detention hearing, the government proffered that Lustgarten has

access to millions of dollars as well as a network of contacts all around the world. (Miami

Detention Transcript at 24.) As acknowledged by his attorney at the detention hearing, the

government has taken steps to freeze Lustgarten’s accounts. (Miami Detention Transcript at 25.)

        At the close of the hearing, United States Magistrate Judge Torres noted that “this case

involves a substantial amount of money, far more than I have ever seen, number one. More

importantly than that, there are significant foreign ties that the Defendant has . . . . [T]here is a

concern that, if he were to flee, he would not be extraditable given the governmental situation in

Venezuela.” (Miami Detention Transcript at 27.) Although Magistrate Judge Torres observed

that it is “possible” that the court in Massachusetts might approve an alternative to detention,

ultimately, he found that detention of Lustgarten was warranted. (Miami Detention Transcript at

28.)

Detention Order #1 (the “Miami Detention Order”)

        In a written Order issued on April 16, 2015, Magistrate Judge Torres carefully examined

the weight of the evidence and Defendant’s history and characteristics and, based on his analysis,

ordered that Lustgarten be detained pending trial.

        In concluding that the weight of the evidence against Defendant is “substantial” (Miami

Detention Order at 2), Magistrate Judge Torres noted the following facts, among others:

            x   Defendant was the subject of a multi-year investigation that revealed Defendant’s


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               involvement in a “complex web of foreign companies operating under the guise of

               a ‘purchase order financing’ company to make otherwise illegal wire transfers.”

               The investigation included court-authorized wiretaps, the execution of e-mail

               search warrants, and in-person interviews. (Miami Detention Order at 2.)

           x   Defendant used bank accounts in at least five countries and is responsible for

               laundering between $40 million and $100 million for drug cartels and

               paramilitary organizations in South America. (Id.)

           x   The investigation revealed that Defendant “lied to potential clients who were

               interested in laundering drug proceeds by falsely claiming to have DEA

               permission to move such funds. Defendant also lied to investigators from the

               DEA, HSI, and the U.S. Attorney’s office in Boston, Massachusetts.” (Id.)

           x   Defendant has extensive foreign ties, is not a United States citizen, is a citizen of

               Venezuela and Austria, and has “extensive foreign travel history.” (Id. at 3.)

           x   Defendant “maintains business and familial relationships in Venezuela and other

               foreign jurisdictions that are known not to cooperate with the U.S. government

               with respect to extradition.” (Id.)

           x   Defendant maintains access to millions of dollars overseas. (Id.)

       In concluding that Defendant’s history and characteristics also support detention, (Miami

Detention Order at 3.), Magistrate Judge Torres noted the following facts, among others:

           x   Defendant was born in Venezuela, is a citizen of Venezuela and Austria, and, at

               the time of his arrest, possessed valid Venezuelan and Austrian passports. (Miami

               Detention Order at 3.)


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           x   Defendant has an extensive international travel history, including travel to and

               from Venezuela, Panama, Europe, and Asia. (Id.)

           x   Defendant has siblings that reside in Panama and Venezuela. Defendant

               previously resided in Venezuela and now regularly resides in Panama. Defendant

               also maintains a residence in South Florida. (Id. at 3-4.)

           x   Defendant has “extensive financial means.” In particular, “Defendant reports an

               income of $30,000 a month in addition to checking and savings accounts with

               balances totaling $65,000.” Defendant owns luxury automobiles and reported to

               Pretrial Services that his Panama residence is owned in full. (Id. at 4.)

       Magistrate Judge Torres concluded that “based on a preponderance of the evidence – in

particular the grand jury’s probable cause finding that Defendant committed the offenses with

which he is charged in this case, the Defendant’s significant foreign ties, the sheer amount of

money involved in this case, the and the severity of the allegations against Defendant – that

Defendant would pose a serious risk of flight if released.” (Miami Detention Order at 4.)

Detention Hearing #2 (Boston)

       LustgartenLustgarten was brought to Boston by the United States Marshals Service and

was arraigned before Magistrate Judge Judith Dein on May 7, 2015. Over the objection of the

government, Lustgarten was granted a second evidentiary hearing regarding detention, which

was held on June 12, 2015, before Magistrate Judge Dein. As agreed by both parties, no

witnesses were called and evidence was entered by proffer.

       The government proffered evidence that the Defendant is a citizen of both Venezuela and

Austria, but has a residence in Panama. (Boston Detention Transcript at 4.) The government


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further proffered that the Defendant has access to “tremendous resources,” including bank

accounts in Singapore, Hong Kong, Switzerland, Austria, and Colombia. (Id.) The government

entered into evidence a written summary of accounts known to investigators to be controlled by

the Defendant. (Id.) The summary, marked as Exhibit 1 (attached hereto and incorporated

herein), illustrates an estimated total of $546 million controlled by the Defendant during a four-

year period. (Id. at 4 and 21.) The government submitted that at trial it was prepared to prove

that a “significant portion of these funds come from drug cartels in South America.” (Id. at 5.)

When asked by the court, counsel for the Defendant confirmed that the Defendant did indeed

control the monies identified by the government, but denied knowing that the funds included

“drug money.” (Id. at 14.)

       The government also stated that post-arrest, three additional bank accounts previously

unknown to investigators were discovered when attempts were made by friends and family

members of the Defendant to access funds on his behalf. (Id. at 22.)

       To demonstrate the strength of its case, the government proffered a written copy of a

judicially intercepted email that contained an electronic chat conversation between the Defendant

and “a corrupt Swiss banker who he is friends with and at this point is an unindicted co-

conspirator.” (Id. at 6.) The email chat conversation was marked as Exhibit 2, (attached hereto

and incorporated herein), and quotes the Defendant admitting to having conducted business with

tax evaders, drug dealers, money launderers, and someone trying to conduct financial

transactions for or with Iran. (Id. at 8-9.) The government stated that at trial it is prepared to

demonstrate that one money launderer who did business with the Defendant, identified in the

chat conversation in Exhibit 2 by name as “Maffi,” is also known to the Defendant as a drug


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trafficker. (Id. at 9.)

        Lustgarten failed to offer any significant new evidence to support pretrial release. As

Exhibit 3, the Defendant admitted into evidence a short excerpt from the Grand Jury testimony of

HSI Special Agent Philip Lavoie. (Id. at 16-17.) The Defendant claimed the testimony was

evidence that the Defendant did not admit on any judicial intercepts to moving drug money. (Id.

at 13.) Instead of directly addressing the issues raised by the government, defense counsel stated

that the Defendant “is of the Jewish faith and he is religious,” and that he “makes sure that

everybody is kosher.” (Boston Transcript at 16.)

        The Defendant also stated that he was in the legitimate business of financing on behalf of

Venezuelan companies, who often have difficulty obtaining credit or paying their bills on time.

(Boston Transcript at 15.) To which the court replied,

                But I have here an excerpt from a telephone conversation that
                seems to indicate that the intent of doing that, and I recognize this
                as a snippet of what the information is here, but I do have what the
                government has given me which indicates that there are people
                with whom the defendant is doing business who are known to him
                to be committing crimes…

        The Defendant also offered to put up real property with an estimated value of $1.3

million, held in the name of three family members, as a surety for appearing at future court

appearances. (Id. at 17-18.)

Detention Order #2 (the “Boston Order”)

        At the conclusion of the hearing, Magistrate Judge Dein denied Defendant’s motion for

pre-trial release, stating

                …right now I have an indictment and I am bound by that
                indictment as to the facts of that indictment as of this point. The
                allegations in the indictment and the amount of money that the

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                 defendant has access to does make this the classic case where he
                 will be detained as a risk of flight… I do have an incredible
                 amount of money in undefined places and ties throughout the
                 world. So it is with sadness, but I do find that the defendant does
                 need to be detained. (Boston Transcript at 24.)

       In a written Memorandum and Order issued on April 16, 2015, Magistrate Judge Dein

ordered that Lustgarten be detained pending trial. (Boston Detention Order at 8, Docket No. 59.)

Magistrate Judge Dein first considered the offenses charged and the weight of the evidence, and

then concluded, “The indictment, itself, establishes probable cause that the defendant committed

the charged offenses. At this stage of the proceedings the evidence against the defendant is

strong and supports his pre-trial detention.” (Id. at 6.)

       Magistrate Judge Dein also considered the history and characteristics of the Defendant,

including the fact that family members were willing to post over $1 million in real property as

surety for his release. (Id. at 6-7.) Magistrate Judge Dein adopted the finding of Magistrate

Judge Torres in the Miami Detention Order,

                 This Court finds, based on a preponderance of the evidence – in
                 particular the grand jury’s probable cause finding that Defendant
                 committed the offenses with which he is charged in this case, the
                 Defendant’s significant foreign ties, the sheer amount of money
                 involved in this case, and the severity of the allegations against
                 Defendant – the Defendant would pose a serious risk of flight if
                 released. 18 U.S.C. § 3142(g)(3)(A). There are no conditions or
                 combination of conditions that may reasonably assure Defendant’s
                 presence at trial, making detention appropriate. 18 U.S.C. §
                 3142(e). (Id. at 7, quoting Miami Detention Order at 4.)

       Magistrate Judge Dein then added, “while the court is appreciative of the willingness of

family members to post their property, given the amount of money at issue in this litigation, the

posting of this property does not adequately serve as a deterrent to insure that the defendant will

not flee.” Id.

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                                            ARGUMENT

        Two different Magistrate Judges have independently found that no conditions exist to

reasonably assure Lustgarten’s appearance at trial. Their findings are correct and have not been

contradicted by any new evidence put forth by the Defendant.

        Where, as here, following an evidentiary hearing, “no condition or combination of

conditions will reasonably assure the appearance of the person as required,” a judicial officer

may detain a defendant pending trial. 18 U.S.C. § 3142(e)(1). 1 The government bears the

burden of establishing that the defendant poses a flight risk, by a preponderance of the evidence.

See, e.g., United States v. Rose, No. 11-CR-10062 (NMG), 2012 WL 2500497, at *1 (D. Mass.

June 26, 2012) (Gorton, J.). In evaluating the risk of flight, the Court must consider the nature

and circumstances of the offense charged, the weight of the evidence against the defendant, the

history and characteristics of the defendant, and the danger that the defendant poses to the

community. See 18 U.S.C. § 3142(g).

        Lustgarten has ample incentive to flee. He is faced with serious charges with a statutory


1
  Error! Main Document Only.The Supreme Court has indicated that the government has a
substantial interest in ensuring that an accused person will be present at trial, and that, in
appropriate cases, the detention of defendants is a “legitimate means of furthering that interest.”
Bell v. Wolfish, 441 U.S. 520, 534 (1979) (citations omitted); see United States v. Salerno, 481
U.S. 739, 749 (1987) (“respondents concede and the Court of Appeals noted that an arrestee may
be incarcerated until trial if he presents a risk of flight . . . .”) (citing Bell, 441 U.S. at 534). The
First Circuit similarly has noted that “the right of an accused person to bail, while critically
important, is not absolute. Where risk of flight is unusually great, a court may deny bail and
keep a defendant in custody in order to insure that the trial will take place.” United States v.
Acevedo-Ramos, 755 F.2d 203, 206 (1st Cir. 1985) (citations omitted). In appropriate cases, the
First Circuit has repeatedly affirmed the pretrial detention of defendants on risk-of-flight
grounds. See, e.g., United States v. Cruz-Reyes, 229 F.3d 1134, 2000 WL 1160441, at *1 (1st
Cir. July 5, 2000) (per curiam) (unpublished op.); United States v. Sullivan, 7 F.3d 219, 1993
WL 367434, at *2 (1st Cir. Sept. 22, 1993) (per curiam) (unpublished op.); United States v.
Dillon, 938 F.2d 1412, 1417 (1st Cir. 1991).

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maximum penalty of twenty years and a contemplated advisory Guidelines range that far exceeds

the statutory maximum. Magistrate Judges in both Miami and Boston have found after listening

to descriptions of the government’s evidence, the case against Lustgarten is strong.

        As a Venezuelan citizen, Lustgarten’s incentive to flee to Venezuela is significantly

heightened, and Magistrate Judge Torres’ concerns regarding the potential challenges presented

by extradition from Venezuela are very real. Simply stated, if Defendant were to flee to

Venezuela – where he maintains a residence, has substantial family ties, and holds assets – he

will be beyond the reach of the United States and will likely never have to face the charges

against him. In particular, on May 20, 2015, Assistant U.S. Attorney Linda Ricci contacted the

Office of International Affairs at the United States Department of Justice and confirmed that the

Constitution of the Bolivarian Republic of Venezuela prohibits extradition of a Venezuelan

national by the Venezuelan authorities to a foreign country. Article 69 of the Venezuelan

Constitution states (translation in italics):

                 Artículo 69. °
                 La República Bolivariana de Venezuela reconoce y gara asilo y
                 refugio.
                 The Bolivarian Republic of Venezuela recognizes and guarantees
                 asylum and refuge.

                 Se prohíbe la extradición de venezolanos y venezolanas.
                 Extradition of Venezuelans is prohibited.

        Therefore, contrary to defense counsel’s assertion during his first detention hearing that

the Venezuelan authorities would extradite Lustgarten “in a heartbeat” (Miami Detention

Transcript at 22.) – the Venezuelan Constitution specifically prohibits his extradition to the

United States.

        Furthermore, Lustgarten has the financial means to flee. As found by a federal grand jury

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sitting in this District, there is probable cause to believe that Lustgarten used bank accounts

controlled by him to launder millions of U.S. dollars that were the proceeds of drug trafficking in

the United States. (Indictment ¶ 10.) In particular, the First Superseding Indictment alleges,

inter alia:

               LUSTGARTEN purchased drug money in U.S. dollars on the black,
               or parallel, market and sold the U.S. dollars to legitimate companies
               in Venezuela in exchange for Venezuelan bolivars. LUSTGARTEN
               received drug proceeds from Mexico and Colombia including
               millions of U.S. dollars in drug proceeds that others known and
               unknown to the grand jury caused to be transferred to
               LUSTGARTEN’s Rosemont accounts in Florida from bank
               accounts associated with two companies in Colombia . . . .

                                                ....

               Following the seizure of the Rosemont Accounts and
               LUSTGARTEN’s accounts . . . on or about March 25, 2009,
               LUSTGARTEN opened accounts in Hong Kong and Singapore and
               used those accounts to receive millions of U.S. dollars that were the
               proceeds of drug trafficking in the United States. LUSTGARTEN
               concealed the nature, source, and ownership of this drug money by
               falsely claiming that the money was a repayment of a loan from his
               purchase order financing business.

        His substantial international ties, both business and personal, are fairly considered in any

assessment of his risk of flight. See United States v. Mardakhayeu, No. 10-CR-10196, 2010 WL

3168631, at *1 (D. Mass. Aug. 9, 2010) (defendant’s business and financial connections in

Belarus contributed to court’s decision to affirm pre-trial detention on risk-of-flight grounds).

        Therefore, in light of the strength of the government’s evidence, the potential for a very

long sentence of incarceration, Lustgarten’s substantial financial resources, Lustgarten’s

extensive foreign ties, and the government’s inability to extradite Lustgarten from Venezuela, the

Court’s order of detention appropriately recognizes that there is no combination of conditions


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that will reasonably assure his appearance. Moreover, Lustgarten has been charged with

obstruction of an official proceeding, based on his materially false statements to federal agents,

which suggests that he would fail to obey any order of release on conditions. (Miami Detention

Transcript at 9.)

                                         CONCLUSION

       For all the foregoing reasons, Lustgarten’s Appeal of Magistrate Judge’s Order of Pre-

Trial Detention should be denied.

                                              Respectfully submitted,

                                              M. KENDALL DAY
                                              CHIEF, ASSET FORFEITURE AND MONEY
                                              LAUNDERING SECTION


                                       By:    /s/ Joseph Palazzo
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Dated: July 8, 2015




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                                 CERTIFICATE OF SERVICE

       The government hereby certifies that the foregoing was this day filed through the ECF

system and will be sent electronically to the registered participants as identified on the Notice of

Electronic Filing (ANEF@) and paper copies will be sent to those indicated as non-registered

participants.



                                              /s/ Joseph Palazzo
                                              Joseph Palazzo
                                              Trial Attorney
                                              US Department of Justice
Dated: July 8, 2015




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